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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    SVV TECHNOLOGY INNOVATIONS                     §
    INC.                                           §
                                                   §
    Plaintiff,                                     §
                                                   §    Civil Action No. 6:22-cv-00640-ADA
    v.                                             §
                                                   §
    ACER INC.                                      §    JURY DEMANDED
                                                   §
    Defendant.                                     §
                                                   §

          PLAINTIFF’S NOTICE OF EX PARTE REEXAMINATION REQUEST BY
                             DEFENDANT ACER INC.

          Pursuant to the Court’s Standing Order Governing Proceedings—Patent Cases,1 Plaintiff

SVV Technology Innovations, Inc. (“SVV”) respectfully notifies the Court that, on November 26,

2024, Defendant Acer Inc. (“Acer”) filed a request with the U.S. Patent and Trademark Office for

ex parte reexamination of claims 1 and 16 of U.S. Patent No. 10,838,135 (“the ’135 Patent”).

          SVV filed this case in June of 2022, approximately 2.5 years ago. See ECF No. 1 (Original

Complaint). The statutory deadline for Acer to file a petition for inter partes review expired

approximately 1.5 years ago, see 35 U.S.C. § 315(b), but Acer did not file any petitions for inter

partes review. The Court subsequently presided over trial in this matter in June of 2024. The ’135

Patent is one of four SVV patents litigated at trial. A jury unanimously found against Acer on the

issue of invalidity, including as to claim 16 of the ’135 Patent. ECF No. 158 at 6.

          After waiving its ability to litigate invalidity at the USPTO through inter partes review and

litigating invalidity in the district court at trial, Acer files this reexamination request seeking to


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  The Court’s OGP instructs Plaintiffs to file “a notice informing the Court when an IPR is filed,
. . .” OGP v.4.4 at 9 (§ X.5). Though not a petition for inter partes review, SVV respectfully
provides notice of this request for proceeding before the USPTO out of an abundance of caution.


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reopen the issue of invalidity on certain claims of the ’135 Patent. In particular, Acer’s request

represents to the USPTO that the alleged references of “Mitsuru” and “Gandhi”2 present a

substantial new question of patentability for claims 1 and 16 of the ’135 Patent. Acer asserted

these same references in this case through pretrial, but Acer ultimately dropped these prior art

references before trial.

       A copy of Acer’s request is attached as Exhibit A. Acer’s request has been assigned the

application number RE 90/019,746. The USPTO is expected to rule on Acer’s reexamination

request by February 26, 2025. Acer has requested that, if its request is granted, the reexamination

“be conducted not only with ‘special dispatch,’ but also with ‘priority over all other cases[,]’”

Ex. A at 1, citing the “ongoing nature” of this case, including the lack of final judgment, and the

time for appeal not yet expiring. Id.




2
  Japanese Patent App. Pub. No. JP 2006-114239 (“Mitsuru”) and U.S. Patent No. 7,876,489
(“Gandhi”).


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DATED: December 10, 2024          Respectfully submitted,

                                  /s/ Robert D. Katz
                                  Robert D. Katz

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